 Fill in this information to identify the case:

 Debtor 1              Jeffrey Martin Feldmiller
 Debtor 2              Sandra Lee Feldmiller
 (Spouse, if filing)
 United States Bankruptcy Court for the:           Western    District of             Pennsylvania
                                                                            (State)
 Case number                                 15-11089-TPA




Form 4100R
Response to Notice of Final Cure Payment                                                                                                        10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee's notice of final cure payment.

  Part 1::             Mortgage Information                                                    Statement / Response Date: 10/26/2020

                                                                                                                        Court claim no. (if known):
Name of creditor:                    NewRez LLC d/b/a Shellpoint Mortgage Servicing                                                   4
Last 4 digits of any number you use to identify the debtor's account:                                            6093
Property address:                  11755 Carter Rd
                                   Number            Street


                                   Albion, Pennsylvania 16401
                                   City                                      State         ZIP Code


   Part 2:             Prepetition Default Payments

Check One:
Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
                                                                                                                                       




   on the creditor's claim.
Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition
       default on the creditor's claim. Creditor asserts that the total prepetition amount remaining unpaid
       as of the date of this response is:


   Part 3:             Postpetition Mortgage Payment

Check one
 Creditor states that the debtor(s) are current with all postpetition payments consistent with §
                                                                                                                                  




   1322(b)(5) of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

       The next postpetition payment from the debtor(s) is due on:
                                                                                                     MM / DD   / YYYY

 
  Creditor states that the debtor(s) are not current on all postpetition payments consistent with §
                                                                                                                                  




       1322(b)(5) of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

       Creditor asserts that the total amount remaining unpaid as of the date of this response is:




Form 4100R                                             Response to Notice of Final Cure Payment                                                  page 1

OCF4100R201510                                                                                                                              7768-N-4643
Debtor 1              Jeffrey Martin Feldmiller                             Case number (if known)         15-11089-TPA
                      First Name        Middle Name       Last Name


a.     Total postpetition ongoing payments due:                                                               (a)     $1,411.57

b.     Total fees, charges, expenses, escrow, and costs outstanding:                                        + (b)     $0.00

c.     Total. Add lines a and b.                                                                              (c)     $1,411.57

       Creditor asserts that the debtor(s) are contractually                           08/01/2020
       obligated for the postpetition payment(s) that first became                    MM / DD        / YYYY
       due on:

     Part 4:       Itemized Payment History
     If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the debtor(s) are
     not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs, the creditor must attach
     an itemized payment history disclosing the following amounts from the date of the bankruptcy filing through the date of this
     response:
     all payments received;
     all fees, costs, escrow, and expenses assessed to the mortgage; and
     all amounts the creditor contends remain unpaid.


     Part 5:       Sign Here

     The person completing this response must sign it. The response must be filed as a supplement to the creditor's
     proof of claim
     Check the appropriate box::
     I am the creditor.
      I am the creditor's authorized agent.
     I declare under penalty of perjury that the information provided in this response is true and correct to the best of my
     knowledge, information, and reasonable belief.
     Sign and print your name and your title, if any, and state your address and telephone number if different from the notice
     address listed on the proof of claim to which this response applies.

                      /s/ Mukta Suri                                                           Date
                  
                                                                              




                                                                                                         10/27/2020
                      Signature

     Print            Mukta Suri
                      First Name               Middle Name              Last Name            Title    Authorized Agent for NewRez
                                                                                                      LLC d/b/a Shellpoint Mortgage
                                                                                                      Servicing
     Company          Bonial & Associates, P.C.
     If different from the notice address listed on the proof of claim to which this response applies:
     Address          P.O. Box 9013
                      Number                   Street
                      Addison, Texas 75001
                      City                                      State                           ZIP Code
     Contact phone                  (972) 643-6600                          Email      POCInquiries@BonialPC.com




Form 4100R                                            Response to Notice of Final Cure Payment                                         page 2

OCF4100R201510                                                                                                                    7768-N-4643
               CERTIFICATE OF SERVICE OF RESPONSE TO NOTICE OF FINAL CURE

I hereby certify that a true and correct copy of the foregoing document has been served upon the following parties in
interest on or before October 28, 2020 via electronic notice unless otherwise stated.


Debtor                Via U.S. Mail
Jeffrey Martin Feldmiller
11755 Carter Road
Albion, PA 16401


Debtor                Via U.S. Mail
Sandra Lee Feldmiller
11755 Carter Road
Albion, PA 16401


Debtors' Attorney
Michael S Jan Janin
Quinn Buseck Leemhuis Toohey & Kroto Inc
2222 West Grandview Boulevard
Erie, PA 16506-4508

Chapter 13 Trustee
Ronda J. Winnecour
Suite 3250, USX Tower, 600 Grant Street
Pittsburgh, Pennsylvania 15219



                                                      Respectfully Submitted,
                                                      /s/ Mukta Suri




FINAL CURE NOTICE - CERTIFICATE OF SERVICE                                                               7768-N-4643
                                                                                                      FCN_COSDflt_01
